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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                               Chapter 7
In re:
                                                               Case No.: 22-10426 (MFW)
Armstrong Flooring, Inc., et al.,1                             (Jointly Administered)
                                                  Debtors.
Alfred T. Giuliano, Chapter 7 Trustee for the
Estate of Armstrong Flooring, Inc.,
                                                               Re: Docket No. ____
                                           Plaintiff,
vs.                                                            Adv. No.: 24-50062
Flexport, Inc.,

                                         Defendant.

               ORDER APPROVING PLAINTIFF’S FOURTH MOTION FOR
           AN ORDER APPROVING SETTLEMENT OF AN AVOIDANCE ACTION
                       PURSUANT TO FED. R. BANKR. P. 9019

          Upon consideration of the Plaintiff’s Fourth Motion for an Order Approving Settlement of

An Avoidance Action Pursuant to Fed. R. Bankr. P. 9019 (the “Motion”); 2 upon the record; and

the Court finding that (i) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334, (ii) venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409, and (iii) this

is a core proceeding pursuant to 28 U.S.C. § 157(b); and the Court having determined that adequate

notice of the Motion was given; and that sufficient legal and factual bases exist for the relief

requested in the Motion; and after due deliberation, the Court having determined that the relief

requested in the Motion is in the best interest of the Debtors’ estates and their creditors; and good

and sufficient cause having been shown; it is hereby ORDERED that:



1 The Debtors in these chapter 7 cases, along with the last four digits of their respective tax identification numbers,
are as follows: Armstrong Flooring, Inc. (3305); AFI Licensing LLC (3265); Armstrong Flooring Latin America, Inc.
(2943); and Armstrong Flooring Canada Ltd. (N/A).

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    Capitalized terms not otherwise defined herein shall have the same meanings ascribed to them in the Motion.


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          1.        The Motion is GRANTED.

          2.        The settlement of the Avoidance Actions against the Defendant listed on Exhibit A

attached to the Motion is approved.

          3.        The Court shall retain jurisdiction with respect to all matters arising from or related

to the interpretation, implementation, or enforcement of this Order.




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